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             Case 1:25-cv-22193-WPD Document
JS 44 (Rev. 04/21) FLSD Revised 12/02/2022   1-1 COVER
                                                 Entered SHEET
                                                         on FLSD Docket 05/13/2025 Page 1 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS                                                                                         DEFENDANTS
                               BPA INTERNATIONAL, INC.                                                                                PAPA, INC.

   (b) County of Residence of First Listed Plaintiff Suffolk County, NY                                       County of Residence of First Listed Defendant Dade County, FL
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:                    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                       THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
          OSBORNE & FRANCIS, PLLC, 925 S. Federal Hwy, Suite 175,
          Boca Raton, FL 33432; TEL: (561) 293-2600; FAX: (561) 923-8100

(d) Check County Where Action Arose:             MIAMI- DADE         MONROE         BROWARD         PALM BEACH      MARTIN     ST. LUCIE     INDIAN RIVER      OKEECHOBEE         HIGHLANDS

II. BASIS OF JURISDICTION                        (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                         (For Diversity Cases Only)                                          and One Box for Defendant)
☐ 1      U.S. Government             ☐3      Federal Question                                                                     PTF         DEF                                            PTF DEF
           Plaintiff                          (U.S. Government Not a Party)                   ☐     Citizen of This State          ☐ 1        ☐ 1       Incorporated or Principal Place       ☐ 4   ☐4
                                                                                                                                                        of Business In This State

☐ 2      U.S. Government             X
                                     ☐4        Diversity                                      ☐     Citizen of Another State       ☐ 2        ☐ 2       Incorporated and Principal Place      ☐ 5   ☐ 5
           Defendant                          (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                    Citizen or Subject of a
                                                                                                    Foreign Country                ☐ 3        ☐ 3       Foreign Nation                        ☐ 6   ☐ 6
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                             Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                    FORFEITURE/PENALTY                   BANKRUPTCY                             OTHER STATUTES
☐ 110 Insurance                   PERSONAL INJURY                    PERSONAL INJURY                ☐ 625 Drug Related Seizure         ☐ 422 Appeal 28 USC 158              ☐ 375 False Claims Act
☐ 120 Marine                    ☐ 310 Airplane                     ☐ 365 Personal Injury -                of Property 21 USC 881       ☐ 423 Withdrawal                     ☐ 376 Qui Tam (31 USC 3729(a))
☐ 130 Miller Act                ☐ 315 Airplane Product                   Product Liability          ☐ 690 Other                              28 USC 157                       400 State Reapportionment
☐ 140 Negotiable Instrument           Liability                    ☐ 367 Health Care/                                                                                       ☐ 410 Antitrust
☐ 150 Recovery of Overpayment   ☐ 320 Assault, Libel &                   Pharmaceutical                                          INTELLECTUAL PROPERTY ☐ 430 Banks and Banking
                                                                                                                                            RIGHTS
      & Enforcement of Judgment       Slander                            Personal Injury                                         ☐ 820 Copyrights                  ☐ 450 Commerce
☐ 151 Medicare Act              ☐ 330 Federal Employers’                 Product Liability                                       ☐ 830 Patent                      ☐ 460 Deportation
☐ 152   Recovery of Defaulted
  Student Loans                       Liability                                                                                  ☐ 835New
                                                                                                                                        Patent – Abbreviated
                                                                                                                                            Drug Application       ☐ 470   Racketeer Influenced
                                                                                                                                                                       and Corrupt Organizations
                                                                    368 Asbestos Personal
                                                                 ☐ Injury Product Liability                                      ☐ 840 Trademark
  (Excl. Veterans)                 ☐ 340 Marine                                                                                                                    ☐ 480(15Consumer Credit
                                                                                                                                 ☐ 880  Defend Trade Secrets
                                                                                                                                      Act of 2016
                                                                                                                                                                              USC 1681 or 1692)
☐ 153 Recovery of Overpayment      ☐ 345 Marine Product                                                    LABOR                     SOCIAL SECURITY                   485 Telephone   Consumer
                                                                                                                                                                   ☐ Protection Act (TCPA)
  of Veteran’s Benefits                     Liability              PERSONAL PROPERTY ☐ 710 Fair Labor Standards Acts ☐ 861 HIA (1395ff)                            ☐ 490 Cable/Sat TV
☐ 160 Stockholders’ Suits          ☐ 350 Motor Vehicle           ☐ 370 Other Fraud              ☐ 720 Labor/Mgmt. Relations      ☐ 862 Black Lung (923)            ☐ 850 Securities/Commodities/
☐ 190 Other Contract               ☐ 355 Motor Vehicle           ☐ 371 Truth in Lending         ☐ 740 Railway Labor Act          ☐ 863 DIWC/DIWW (405(g))              Exchange
☐ 195 Contract Product Liability           Product Liability     ☐ 380 Other Personal           ☐ 751 Family and Medical         ☐ 864 SSID Title XVI              ☐ 890 Other Statutory Actions
☐ 196 Franchise                    ☐ 360 Other Personal             Property Damage                    Leave Act                 ☐ 865 RSI (405(g))                ☐ 891 Agricultural Acts
                                           Injury                ☐ 385 Property Damage          ☐ 790 Other Labor Litigation                                       ☐ 893 Environmental Matters
                                   ☐ 362 Personal Injury -          Product Liability           ☐ 791 Employee Retirement                                          ☐ 895 Freedom of Information Act
                                           Med. Malpractice                                          Income Security Act                                           ☐ 896 Arbitration
       REAL PROPERTY                      CIVIL RIGHTS            PRISONER PETITIONS                                                FEDERAL TAX SUITS              ☐ 899 Administrative Procedure
☐ 210 Land Condemnation            ☐ 440 Other Civil Rights         Habeas Corpus:                                               ☐ 870   Taxes (U.S. Plaintiff or
                                                                                                                                    Defendant)
                                                                                                                                                                       Act/Review or Appeal of
                                                                                                                                                                       Agency Decision
☐ 220 Foreclosure                  ☐ 441 Voting                 ☐ 463 Alien Detainee                                                871
                                                                                                                                 ☐ 7609 IRS—Third    Party 26 USC  ☐ 950   Constitutionality of
                                                                                                                                                                       State Statutes
☐ 230 Rent Lease & Ejectment       ☐ 442 Employment              ☐ 510   Motions to Vacate
                                                                    Sentence
☐ 240 Torts to Land                    443 Housing/
                                   ☐ Accommodations              ☐ 530 General
☐ 245 Tort Product Liability       ☐ 445 Amer. w/Disabilities - ☐ 535 Death Penalty                    IMMIGRATION
☐ 290 All Other Real Property              Employment               Other:                      ☐ 462 Naturalization Application
                                   ☐ 446 Amer. w/Disabilities - ☐ 540 Mandamus & Other ☐ 465 Other Immigration
                                           Other                 ☐ 550 Civil Rights                   Actions
                                   ☐ 448 Education               ☐ 555 Prison Condition
                                                                    560 Civil Detainee –
                                                                 ☐ Conditions of
                                                                    Confinement
V. ORIGIN                  (Place an “X” in One Box Only)
                                                                                      Transferred from     ☐ 6 Multidistrict
☐ 1 Original         ☐ 2 Removed ☐ 3 Re-filed ☐ 4 Reinstated ☐ 5 another district                               Litigation        ☐ 7 Appeal to            ☐ 8 Multidistrict          Remanded from
       Proceeding           from State          (See VI         or
                            Court               below)          Reopened              (specify)                 Transfer                 District Judge          Litigation ☐ 9 Appellate Court
                                                                                                                                         from Magistrate         – Direct
                                                                                                                                         Judgment                File
VI. RELATED/                            (See instructions): a) Re-filed Case      ☐YES ☐ NO                   b) Related Cases ☐YES ☐ NO
RE-FILED CASE(S)                                           JUDGE:                                                                    DOCKET NUMBER:
                                        Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 28 USC 1332(a)(1) - Breach of Contract with Alternative Claims
                                        LENGTH OF TRIAL via 5                  days estimated (for both sides to try entire case)
VIII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION
                                                                                                       DEMAND $ 75,000+                             CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER F.R.C.P. 23
                                                                                                                                                JURY DEMAND:                     ☐ Yes     ☐ No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD

5/13/2025                                                   Joseph A. Osborne
FOR OFFICE USE ONLY : RECEIPT #                            AMOUNT                             IFP                 JUDGE                                 MAG JUDGE
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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                Authority For Civil Cover Sheet
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by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should complete the form as follows:
I.      (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official,
giving both name and title.
        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
 II.    Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.     Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of
suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
V.      Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
                           Brief Description: Unauthorized reception of cable service
VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.
